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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on November 1, 2013

UNITED STATES OF AMERICA

CRIMINAL NO.

VIOLATIONS:

18 U.S.C. § 2339A

(Conspiracy to Provide Material
Support and Resources to Terrorists
Resulting in Death)

18 U.S.C. §§ 2339A and 2

(Providing Material Support and
Resources to Terrorists Resulting in
Death; Aiding and Abetting and Causing
an Act to be Done)

18 U.S.C. §§ 1116, 1111 and 2
: (Murder of an Internationally Protected
AHMED SALIM FARAJ : Person; Aiding and Abetting and
ABU KHATALLAH : Causing and Act to Be Done)
also known as Ahmed Abu Khatallah, :
also known as Ahmed Mukatallah, : 18 U.S.C. §§ 1114, 1111 and 2
also known as Ahmed Bukatallah, : (Murder of an Officer and Employee of
also known as Sheik, : the United States; Aiding and Abetting
‘ and Causing an Act to Be Done)
Defendant.
18 U.S.C. §§ 1114, 1113 and 2
(Attempted Murder of an Officer and
Employee of the United States; Aiding
and Abetting and Causing an Act to Be
Done)

18 U.S.C. §§ 930(c), 1111, and 2

(Killing a Person in the Course of an
Attack on a Federal Facility Involving the
Use of a Firearm and a Dangerons

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Weapon; Aiding and Abetting and
Causing an Act to be Done)

18 U.S.C. §§ 844(f)(1)&(3) and 2
(Maliciously Damaging and Destroying
U.S. Property by Means of Fire and an
Explosive Causing Death; Aiding and
Abetting and'Causing an Act to be Done)

18 U.S.C. §§ 1363, 7 and 2

(Maliciously Destroying and Injuring
Dwellings and Property and Placing Lives
in Jeopardy within the Special Maritime
and Territorial Jurisdiction of the United
States and Attempting to Do the Same;
Aiding and Abetting and Causing an Act
to Be Done)

18 U.S.C. §§ 924(c) and 2
(Using, Carrying, Brandishing, and
Discharging a Firearm during a Crime of
Violence; Aiding and Abetting and
Causing an Act to be Done)

INDICTMENT

The Grand Jury charges that:
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(Conspiracy to Provide Material Support and Resources to Terrorists Resulting in Death)

At all times material to this Indictment:
Introduction
A. Bac round
l. The country of Libya is located in North Africa along the Mediterranean Sea. Its capital is
'I`ripoli. Benghazi, Libya’s Second largest city, is located in the northeastern part of the

country, approximately 400 miles east of Tripoli.

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. In 1969, Muammar Gaddafl seized power in Libya through a coup and remained Libya’s
leader until 2011, at which time a civil war erupted in Libya. The civil war began in the
city of Benghazi, which was controlled by the rebels and served as the base of operations
for the rebel-led Transitional National Council (“TNC”).

. On February 25, 2011, the U.S. Department of State suspended operations in Libya and
evacuated American personnel.

. On April 5, 2011, the then-United States Special Envoy J. Christopher Stevens arrived in
Benghazi to re-establish an American presence in Libya. On July lS, 2011, the United
States officially recognized the TNC as Libya’s governing authority. ln August 2011,
Gaddati was ousted from power.

. In November 2011, the United States established a diplomatic outpost in Benghazi, known
as the U.S. Special Mission (“Mission”). A contingent of U.S. State Department personnel
was based at the Mission.

. A second U.S. facility was established in Benghazi, known as the Annex. A contingent of
U.S. personnel was based at the Annex.

. On May 26, 2012, J. Christopher Stevens arrived in Tripoli as the U.S. Ambassador to
Libya. On September 11, 2012, J. Christopher Stevens was in Benghazi.

. On September ll and 12, 2012, the Mission and the Annex were attacked

. The Defendant

. AHMED SALIM FARAJ ABU KHATALLAH, also known as Ahmed Abu Khatallah,
also known as Ahmed Mukatallah, also known as Ahmed Bukatallah, also known as
“Sheik,” (hereinafter referred to as KHATALLAH), who was arrested and first brought in

the District of Columbia, is a citizen of Libya and resident of Benghazi. KHATALLAH

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was the commander of Ubaydah Bin Jarrah (“UBJ”), an Islamist extremist militia in
Benghazi, which had the goal of establishing Sharia law in Libya. ln approximately 2011,
UBJ merged with Ansar al-Sharia (“AAS”), another Islamist extremist group in Libya with
the same goal of establishing Sharia law in Libya. KHATALLAH was a Benghazi-based
leader of AAS.

U.S. Personnel Victims of the September 11-12, 2012 Attack on the Mission and Annex
J. Christopher Stevens, a citizen of the United States, was the United States Ambassador to
Libya and was stationed at the U.S. Embassy in Tripoli.

Sean Patrick Smith, a citizen of the United States, was employed by the U.S. Department of
State as an Information Management Offlcer and was stationed at the Mission.

Scott Wickland, a citizen of the United States, was employed by the U.S. Department of
States as an Assistant Regional Security Ofticer and was stationed at the Mission.

David Ubben, a citizen of the United States, was employed by the U.S. Department of State

as an Assistant Regional Ofticer and was stationed at the Mission.

14. Tyrone Snowden Woods, a citizen of the United States, was a Security Ofticer and was

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stationed at the Annex in Benghazi.

Glen Anthony Doherty, a citizen of the United States, was a Security Ofticer and was
stationed at the U.S. Embassy in Tripoli.

Mark G., a citizen of the United States, was a Security Officer and was Stationed at the
Annex in Benghazi.

Jurisdiction and Venue

All of the acts referred to in this Indictment were begun and committed in Libya, which is

outside the jurisdiction of any particular state or district, but within the extraterritorial

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jurisdiction of the United States, and pursuant to Title 18, United States Code, Section

3238, within the venue of the United States District Court for the District of Columbia.

The Conspiracy

Beginning on a date unknown to the Grand Jury but no later than on or about September
11, 2012, and continuing until on or about September 12, 2012, in Libya, defendant
KHATALLAH did knowingly and intentionally conspire and agree with other conspirators
known and unknown to the Grand Jury, to provide material support and resources to
terrorists, that is, personnel including himself and others, as defined in Title 18, United
States Code, Section 2339A(b)(1), knowing and intending that the material support and
resources were to be used in preparation for and in carrying out a violation of Title 18,
United States Code, Section 1116, Murder of an Internationally Protected Person, as set
forth in Count Three of this Indictment, a violation of Title 18, United States Code, Section
1114, Murder of an Officer and Employee of the United States, as set forth in Counts F our
through Six of this Indictment, a violation of Title 18, United States Code, Section 1114,
Attempted Murder of an Officer and Employee of the United States, as set forth in Counts
Seven through Nine of this lndictment, a violation of Title 18, United States Code, Section
930(c), Killing a Person in the Course of an Attack on a Federal Facility lnvolving the Use
of a Firearm and a Dangerous Weapon, as set forth in Counts Ten through Thirteen of this
Indictment, a violation of Title 18, United States Code, Section 844(1), Maliciously
Darnaging and Destroying U.S. Property by Means of Fire and an Explosive Causing
Death, as set forth in Counts Fourteen and Fifteen of this lndictment, and a violation of

Title 18, United States Code, Section 1363, Maliciously Destroying and Injuring Dwellings
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and Property and Placing Lives in Jeopardy within the Special Maritime and Territorial
Jurisdiction of the United States and Attempting to Do the Sarne, as set forth in Counts
Sixteen and Seventeen of this Indictment, resulting in the deaths of J. Christopher Stevens,
Sean Patrick Srnith, Tyrone Snowden Woods, and Glen Anthony Doherty.
Obiects of the Conspiracy
19. The objects and pmposes of the conspiracy were, among others:
a. To remove the presence of the United States in Benghazi, Libya, through the use of
force and the threat of force;
b. To violently attack the Mission and the Annex;
c. To kill United States citizens at the Mission and the Annex;
d. To destroy buildings and other property at the Mission and the Annex; and
e. To plunder property from the Mission and Annex, including documents, maps and
computers containing sensitive information
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20. In furtherance of this conspiracy and to effect its objects, KHATALLAH and other
conspirators committed or caused to be committed the following overt acts, among others:
a. On or before September ll, 2012, KHATALLAH informed others that there was
an American facility in Benghazi posing as a diplomatic post, that he believed the
facility was actually being used to collect intelligence, that he viewed U.S.
intelligence actions in Benghazi as illegal, and that he was therefore going to do
something about this facility;
b. On the evening of September 11, 2012, KHATALLAH drove to the Mission with

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other attackers;

c. On September 11, 2012, at approximately 9:45 p.m., conspirators, consisting of a
group of about twenty armed men, including close associates of KHATALLAH,
violently breached the main (C-l) gate of the Mission;

d. On September 11, 2012, between approximately 9:45 and lO:OO p.m., conspirators
set fire to buildings within the Mission, including Villa C, a building occupied by J.
Christopher Stevens, Sean Patrick Smith, and Scott Wickland, resulting in the
deaths of J. Christopher Stevens and Sean Patrick Smith;

e. On September ll, 2012, KHATALLAH actively participated in the attack on the
Mission by coordinating the efforts of his conspirators and turning away emergency
responders;

f. On September ll, 2012, at approximately 10:15 p.m., the conspirators temporarily
retreated to just outside the Mission;

g. On September ll, 2012, at approximately 11:15 p.m., conspirators assembled
outside the Mission’s southern (C-3) gate and launched a violent attack on the
Mission using firearms, to include handguns, semiautomatic assault rifles, that is,
AK-47-type assault rifles, and destructive devices, that is, grenades and rocket-
propelled grenades;

h. On September 11, 2012, at approximately 11:45 p.m., the conspirators re-entered
the Mission compound and began to plunder material from within the Mission’s
Office, including documents, maps and computers containing sensitive information

about the location of the Annex.

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On September 11, 2012, at approximately 11:54 p.m., KHATALLAH entered the
Mission compound and supervised the plunder of material from the Mission’s
Office, including documents, maps and computers containing sensitive information
about the location of the Armex;

On September 12, 2012, shortly after midnight, KHATALLAH and conspirators
traveled to an AAS camp in Benghazi, along with a vehicle and material stolen
from the Mission;

On September 12, 2012, beginning at approximately 12:30 a.m., conspirators
attacked the Annex with small arms tire, including AK-47-type assault rifles and
rocket~propelled grenades;

On September 12, 2012, at approximately 5:15 a.m., conspirators attacked the
Annex with mortars, resulting in the deaths of Tyrone Snowden Woods and Glen

Anthony Doherty and serious bodily injury to David Ubben and Mark G.

(Conspiracy to Provide Material Support and Resources to Terrorists Resulting in Death,
in violation of Title 18, United States Code, Section 2339A)

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COUNT TWO

(Providing Material Support and Resources to Terrorists Resulting in Death)
The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs

l through 17 of Count One of this Indictment.

2. Between on or about September ll, 2012, and on or about September 12, 2012, in

Benghazi, Libya, defendant KHATALLAH, and others known and unknown to the Grand

Jury, did provide material support and resources to terrorists, that is, personnel including

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himself and others, as defined in Title 18, United States Code, Section 2339A(b)(1),
knowing and intending that the material support and resources were to be used in
preparation for and in carrying out a violation of 'l`itle 18, United States Code, Section
1116, Murder of an Intemationally Protected Person, as set forth in Count Three of this
Indictment, a violation of Title 18, United States Code, Section 1114, Murder of an Ofticer
and Employee of the United States, as set forth in Counts Four through Six of this
Indictment, a violation of Title 18, United States Code, Section 1114, Attempted Murder of
an Offlcer and Employee of the United States, as set forth in Counts Seven through Nine of
this Indictment, a violation of Title 18, United States Code, Section 930(0), Killing a Person
in the Course of an Attack on a Federal Facility Involving the Use of a Firearm and a
Dangerous Weapon, as set forth in Counts Ten through Thirteen of this lndictment, a
violation of Title 18, United States Code, Section 844(f), Maliciously Damaging and
Destroying U.S. Property by Means of Fire and an Explosive Causing Death, as set forth in
Counts Fourteen and Fifteen of this Indictment, and a violation of Title 18, United States
Code, Section 1363, Maliciously Destroying and Injuring Dwellings and Property and
Placing Lives in Jeopardy within the Special Maritime and Territorial Jurisdiction of the
United States and Attempting to Do the Same, as set forth in Counts Sixteen and Seventeen
of this Indictment, resulting in the deaths of J. Christopher Stevens, Sean Patrick Smith,
Tyrone Snowden Woods, and Glen Anthony Doherty.

(Providing Material Support and Resources to Terrorists Resulting in Death, in violation of

Title 18, United States Code, Section 2339A; Aiding and Abetting and Causing an Act to Be

Done, in violation of Title 18, United States Code, Section 2)

COUNT THREE

(Murder of an Internationally Protected Person)

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The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

On or about September ll, 2012, in Benghazi, Libya, defendant IGIATALLAH, and others
known and unknown to the Grand Jury, did unlawfully, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, and in the perpetration of, and attempt to
perpetrate, an arson and a burglary, commit the murder of an internationally protected
person, as defined by Title 18, United States Code, Section 1116(b)(4), by killing J.
Christopher Stevens, a representative, officer, employee, and agent of the United States, who,
as the United States Ambassador to Libya, was entitled pursuant to international law to

special protection against attack upon his person, freedom and dignity.

UVlurder of an Internationally Protected Person, in violation of Title 18, United States
Code, Sections 1116 and 1111; Aiding and Abetting and Causing an Act to Be Done, in
violation of Title 18, United States Code, Section 2)

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COUNT FOUR
(Murder of an Ofticer and Employee of the United States)

The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

On or about September 11, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did unlawfully, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, and in the perpetration of, and attempt to
perpetrate, an arson and a burglary, commit the murder of an officer and employee of the
United States and the executive branch of the United States Government, while such officer
and employee was engaged in and on account of the performance of official duties, by killing

Sean Patrick Smith.

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(Murder of an Offlcer and Employee of the United States, in violation of Title 18, United
States Code, Sections 1114 and 1111; Aiding and Abetting and Causing an Act to Be Done,
in violation of Title 18, United States Code, Section 2)

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(Murder of an OH`icer and Employee of the United States)

The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did unlawfirlly, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, commit the murder of an officer and
employee of the United States and the executive branch of the United States Govemment,
while such officer and employee was engaged in and on account of the performance of

official duties, by killing Tyrone Snowden Woods.

(Murder of an Officer and Employee of the United States, in violation of Title 18, United
States Code, Sections 1114 and 1111; Aiding and Abetting and Causing an Act to Be Done,
in violation of Title 18, United States Code, Section 2)

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MS_DS
(Murder of an Ofiicer and Employee of the United States)
The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs l
through 17 of Count One of this Indictment.
On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did unlawfully, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, commit the murder of an officer and

employee of the United States and the executive branch of the United States Govemment,

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while such officer and employee was engaged in and on account of the performance of
official duties, by killing Glen Anthony Doherty.

(Murder of an Ofl`icer and Employee of the United States, in violation of Title 18, United

States Code, Sections 1114 and 1111; Aiding and Abetting and Causing an Act to Be Done,

in violation of Title 18, United States Code, Section 2)

COUNT SEVEN
(Attempted Murder of an Officer and Employee of the United States)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

2. On or about September l 1, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did unlawfully, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, and in the perpetration of, and attempt to
perpetrate, an arson and a burglary, attempt to commit the murder of an officer and employee
of the United States and the executive branch of the United States Government, while such
officer and employee was engaged in and on account of the performance of ofiicial duties, by
attempting to kill Scott Wickland.

(Attempted Murder of an Officer and Employee of the United States, in violation of Title 18,

United States Code, Sections 1114 and 1113; Aiding and Abetting and Causing an Act to Be
Done, in violation of Title 18, United States Code, Section 2)

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COUNT EIGHT
(Attempted Murder of an Officer and Employee of the United States)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

2. On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did unlawfully, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, attempt to commit the murder of an officer
and employee of the United States and the executive branch of the United States
Government, while such officer and employee was engaged in and on account of the
performance of official duties, by attempting to kill David Ubben.

(Attempted Murder of an Officer and Employee of the United States, in violation of Title 18,

United States Code, Sections 1114 and 1113; Aiding and Abetting and Causing an Act to Be

Done, in violation of Title 18, United States Code, Section 2)

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1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

2. On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did unlawfully, willfully, deliberately, maliciously,
and with premeditation and malice aforethought, attempt to commit the murder of an officer
and employee of the United States and the executive branch of the United States
Government, while such officer and employee was engaged in and on account of the
performance of official duties, by attempting to kill Mark G.

(Attempted Murder of an Officer and Employee of the United States, in violation of Title 18,

United States Code, Sections 1114 and 1113; Aiding and Abetting and Causing an Act to Be
Done, in violation of Title 18, United States Code, Section 2)

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COUNT TEN

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs
l through 17 of Count One of this Indictment.

2. On or about September 11, 2012, in Benghazi, Libya, defendant KHATALLAH, and
others known and unknown to the Grand Jury, in the course of an attack on the U.S. Special
Mission, a Federal facility as defined in Title 18, United States Code, Section 930(g)(1),
involving the use of a firearm and other dangerous weapon, did unlawfully, willfully,
deliberately, maliciously, and with premeditation and malice aforethought, and in the
perpetration of, and attempt to perpetrate, an arson and a burglary, commit murder by
killing J. Christopher Stevens.

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon, in violation of Title 18, United States Code, Sections
930(c) and 1111; Aiding and Abetting and Causing an Act to Be Done, in violation of Title
18, United States Code, Section 2)

COUNT ELEVEN

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs
1 through 17 of Count One of this Indictment.

2. On or about September ll, 2012, in Benghazi, Libya, defendant IGIATALLAH, and
others known and unknown to the Grand Jury, in the course of an attack on the U.S. Special
Mission, a Federal facility as defined in Title 18, United States Code, Section 930(g)(1),
involving the use of a firearm and other dangerous weapon, did unlawiiilly, willfiilly,

deliberately, maliciously, and with premeditation and malice aforethought, and in the

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perpetration of, and attempt to perpetrate, an arson and a burglary, commit murder by
killing Sean Patrick Smith.
(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon, in violation of Title 18, United States Code, Sections

930(c) and 1111; Aiding and Abetting and Causing an Act to Be Done, in violation of Title
18, United States Code, Section 2)

COUNT TWELVE

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon)

1. The Grand Jury realleges and incorporates by reference as if hilly stated herein paragraphs
l through 17 of Count One of this Indictment.

2. On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and
others known and unknown to the Grand Jury, in the course of an attack on the Annex, a
Federal facility as defined in Title 18, United States Code, Section 930(g)(1), involving the
use of a firearm and other dangerous weapon, did unlawfully, willfi.illy, deliberately,
maliciously, and with premeditation and malice aforethought, commit murder by killing
Tyrone Snowden Woods.

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon, in violation of Title 18, United States Code, Sections
930(c) and 1111; Aiding and Abetting and Causing an Act to Be Done, in violation of Title
18, United States Code, Section 2)

COUNT THIRTEEN

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs

1 through 17 of Count One of this Indictment.

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2. On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and
others known and unknown to the Grand Jury, in the course of an attack on the Annex, a
Federal facility as defined in Title 18, United States Code, Section 930(g)(1), involving the
use of a firearm and other dangerous weapon, did unlawfully, willfully, deliberately,
maliciously, and with premeditation and malice aforethought, commit murder by killing
Glen Anthony Doherty.

(Killing a Person in the Course of an Attack on a Federal Facility Involving the Use of a
Firearm and a Dangerous Weapon, in violation of Title 18, United States Code, Sections

930(c) and 1111; Aiding and Abetting and Causing an Act to Be Done, in violation of Title
18, United States Code, Section 2)

COUNT FOURTEEN

(Maliciously Damaging and Destroying U.S. Property by Means of Fire and an Explosive
Causing Death)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

2. On or about September 11, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did maliciously damage and destroy and did
maliciously attempt to damage and destroy buildings, vehicles, personal property, and real
property owned, possessed, and leased, in Whole or in part, by the United States, that is, the
U.S. Special Mission and the buildings, vehicles, personal property, and real property
contained therein, by means of fire and an explosive, and, as a result of such conduct, directly
and proximately caused the deaths of J. Christopher Stevens and Sean Patrick Smith.

(Maliciously Damaging and Destroying U.S. Property by Means of Fire and an Explosive

Causing Death, in violation of Title 18, United States Code, Section 844(1)(1)&(3); Aiding

and Abetting and Causing an Act to Be Done, in violation of Title 18, United States Code,
Section 2)

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COUNT FIFTEEN

(Maliciously Damaging and Destroying U.S. Property by Means of Fire and an Explosive
Causing Death)

The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did maliciously damage and destroy and did
maliciously attempt to damage and destroy buildings, vehicles, personal property, and real
property owned, possessed, and leased, in whole or in part, by the United States, that is, the
Annex and the buildings, vehicles, personal property, and real property contained therein, by
means of fire and an explosive, and, as a result of such conduct, directly and proximately

caused the deaths of Tyrone Snowden Woods and Glen Anthony Doherty.

(Maliciously Damaging and Destroying U.S. Property by Means of Fire and an Explosive
Causing Death, in violation of Title 18, United States Code, Section 844(1`)(1)&(3); Aiding
and Abetting and Causing an Act to Be Done, in violation of Title 18, United States Code,
Section 2)

COUNT SIXTEEN

(Maliciously Destroying and Injuring Dwellings and Property and Placing Lives in

Jeopardy within the Special Maritime and Territorial Jurisdiction of the United States and

1.

Attempting to Do the Same)
The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.
On or about September 11, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did willfully and maliciously destroy and injure and
attempt to destroy and injure a structure, conveyance, and other real and personal property,

within the special maritime and territorial jurisdiction of the United States, that is, the U.S.

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Special Mission and dwellings, buildings, vehicles, personal property, and real property
contained therein, and placed the lives of United Sates nationals in danger.

(Maliciously Destroying and Injuring Dwellings and Property and Placing Lives in
Jeopardy within the Special Maritime and Territorial Jurisdiction of the United States and
Attempting to Do the Same, in violation of Title 18, United States Code, Sections 1363 and
7; Aiding and Abetting and Causing an Act to Be Done, in violation of Title 18, United States
Code, Section 2)

M'M
(Maliciously Destroying and Injuring Dwellings and Property and Placing Lives in
Jeopardy within the Special Maritime and Territorial Jurisdiction of the United States and
Attempting to Do the Same)

1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs 1
through 17 of Count One of this Indictment.

2. On or about September 12, 2012, in Benghazi, Libya, defendant KHATALLAH, and others
known and unknown to the Grand Jury, did willfully and maliciously destroy and injure and
attempt to destroy and injure a structure and real and personal property, within the special
maritime and territorial jurisdiction of the United States, that is, the Annex and dwellings,
buildings, vehicles, personal property, and real property contained therein, and placed the
lives of United States nationals in danger.

(Maliciously Destroying and Injuring Dwellings and Property and Placing Lives in

Jeopardy within the Special Maritime and Territorial Jurisdiction of the United States and

Attempting to Do the Same, in violation of Title 18, United States Code, Sections 1363 and

7; Aiding and Abetting and Causing an Act to Be Done, in violation of Title 18, United States
Code, Section 2)

COUNT EIGHTEEN
(Using, Carrying, Brandishing, and Discharging a Firearm during a Crime of Violence)
1. The Grand Jury realleges and incorporates by reference as if fully stated herein paragraphs

1 through 17 of Count One of this Indictment.

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2. Between on or about September 11, 2012, and on or about September 12, 2012, in
Benghazi, Libya, defendant KHATALLAH, and others known and unknown to the Grand
Jury, did unlawfully and knowingly use, carry, brandish, and discharge firearms, to include
handguns, semiautomatic assault rifles, that is, AK-47-type assault rifles, and destructive
devices, that is, grenades and rocket-propelled grenades, during and in relation to a crime of
violence which is prosecutable in a court of the United States, that is, Conspiracy to Provide
Material Support and Resources to Terrorists Resulting in Death, as set forth in Count One
of this Indictment, Providing Material Support and Resources to Terrorists Resulting in
Death, as set forth in Count Two of this Indictment, Murder of an Internationally Protected
Person, as set forth in Count Three of this Indictment, Murder of an Officer and Employee
of the United States, as set forth in Counts Four through Six of this Indictment, Attempted
Murder of an Officer and Employee of the United States, as set forth in Counts Seven
through Nine of this Indictment, Killing a Person in the Course of an Attack on a Federal
Facility Involving the Use of a Firearm and a Dangerous Weapon, as set forth in Counts
Ten through Thirteen of this Indictment, Maliciously Damaging and Destroying U.S.
Property by Means of Fire and an Explosive Causing Death, as set forth in Counts Fourteen
and Fifteen of this Indictment, and Maliciously Destroying and Injuring Dwellings and
Property and Placing Lives in Jeopardy within the Special Maritime and Territorial
Jurisdiction of the United States and Attempting to Do the Same, as set forth in Counts
Sixteen and Seventeen of this Indictment.

(Using, Carrying, Brandishing, and Discharging a Firearm During a Crime of Violence, in
violation of Title 18, United States Code, Section 924(c); Aiding and Abetting and Causing
an Act to be Done, in violation of Title 18, United States Code, Section 2)

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Notice of Special Findings_

a. The allegations of Counts Three, Four, Five, Six, Ten, Eleven, Twelve, Thirteen,
Fourteen, and Fifteen of this Indictment are hereby realleged as if fully set forth herein
and incorporated by reference.

b. As to Counts Three, Four, Five, Six, Ten, Eleven, Twelve, Thirteen, Fourteen, and
Fifteen of this Indictment:

1. Defendant KHATALLAH was not less than 18 years of age at the time of the
offense (Title 18, United States Code, Section 3591(a));

2. Defendant KHATALLAH intentionally participated in an act, contemplating
that the life of a person would be taken and intending that lethal force would
be used in connection with a person, other than one of the participants in this
offense, and the victims died as a direct result of the act (Title 18, United
States Code, Section 3591(a)(2)(C));

3. Defendant KHATALLAH intentionally and specifically engaged in an act of
violence, knowing that the act created a grave risk of death to a person, other
than one of the participants in the offense, such that participation in the act
constituted a reckless disregard for human life and the victims died as a direct
result of the act (Title 18, United States Code, Section 3591(a)(2)(D));

4. The victims’ death, and injury resulting in death, occurred during the
commission and attempted commission of offenses under Section 1116 of
Title 18 (murder of an internationally protected person) and Section 844(f) of
Title 18 (maliciously damaging and destroying U.S. property by means of fire
and an explosive causing death) (Title 18, United States Code, Section
3592(¢)(1));

5. Defendant KHATALLAH, in the commission of the offense, knowingly
created a grave risk of death to one or more persons in addition to the victims
of the offenses (Title 18, United States Code, Section 3592(c)(5));

6. Defendant KHATALLAH committed the offenses after substantial planning

and premeditation to cause the death of a person and commit an act of
terrorism ('I`itle 18, United States Code, Section 3592(0)(9)); and

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7. Defendant KHATALLAH intentionally killed and attempted to kill more
than one person in a single criminal episode (Title 18, United States Code,
Section 3592(c)(16)).

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Attorney of the United States in
and for the District of Columbia

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